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                            IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                     PHILADELPHIA DIVISION

      In re: TAMEKA SINGLETON                         )
              Debtors                                 )
                                                      )       CHAPTER 13
      SANTANDER CONSUMER USA INC.                     )
           Moving Party                               )       Case No.: 21-10229 (MDC)
                                                      )
         v.                                           )       Hearing Date: 12-20-22 at 10:30 AM
                                                      )
      TAMEKA SINGLETON                                )       11 U.S.C. 362
       DEMETRIUS J. SINGLETON                         )
          Respondents                                 )       11 U.S.C. 1301
                                                      )
      KENNETH E. WEST                                 )
          Trustee                                     )
                                                      )
        MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND CO-DEBTOR STAY

      TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

              Comes now Santander Consumer USA, Inc. (“Santander”) filing this its Motion For
      Relief From The Automatic Stay And Co-Debtor Stay (“Motion”), and in support thereof, would
      respectfully show:

              1. That on January 29, 2021, Tameka Singleton filed a voluntary petition under
      Chapter 13 of the Bankruptcy Code.

              2. This Court has jurisdiction of the Motion by virtue of 11 U.S.C. 105, 361, 362, 1301
      and 28 U.S.C. 157 and 1334.
              3. On October 5, 2019, the debtor and the co-debtor Demetrius J. Singleton entered into
      a retail installment contract for the purchase of a 2016 Toyota Corolla bearing vehicle
      identification number 2T1BURHE7GC599285. The contract was assigned to Santander
      Consumer USA Inc. and the debtor(s) became indebted to Santander in accordance with the
      terms of same. Santander Consumer USA Inc. is designated as first lien holder on the title to the
      vehicle and holds a first purchase money security interest in the vehicle. A true copy of the
      contract and title inquiry to the vehicle are annexed hereto as Exhibits A and B.



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              4. As of November 17, 2022, the debtor’s account with Santander had a net loan balance
      of $13,581.61.
              5. According to the November 2022 NADA Official Used Car Guide, the vehicle has a
      current retail value of $12,850.00.
              6. The debtor’s account is past due from August 19, 2022 to November 19, 2022 with
      arrears in the amount of $1,838.24.
              7. Santander Consumer USA Inc. alleges that the automatic stay and co-debtor stay
      should be lifted for cause under 11 U.S.C. 362(d)(1) and 11 U.S.C. 1301 in that Santander lacks
      adequate protection of its interest in the vehicle as evidenced by the following:
                       (a) The debtor is failing to make payments to Santander and is failing to provide
              Santander with adequate protection.


              WHEREFORE PREMISES CONSIDERED, Santander Consumer USA Inc. respectfully
      requests that upon final hearing of this Motion, (1) the automatic stay will be terminated as to
      Santander to permit Santander to seek its statutory and other available remedies; (2) that the
      co-debtor stay will be terminated as to Santander to permit Santander to seek its statutory and
      other available remedies; (3) that the stay and co-debtor stay terminate upon entry of this Order
      pursuant to the authority granted by Fed.R.Bank.P., Rule 4001(a)(3) and (4) Santander be
      granted such other and further relief as is just.




      Respectfully submitted,

      /s/ William E. Craig
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